                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

UNITED STATES OF AMERICA                      )         COLLIER/CARTER
                                              )
        v.                                    )         CASE NO. 1:14-CR-29
                                              )
DIONTRE DANFORTH                              )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on June 16, 2014. At

the hearing, defendant entered a plea of guilty to Count One of the Indictment and the lesser

included offense in Count Two of the Indictment, Aiding and Abetting the Using, Carrying, and

Brandishing of a Firearm During and in Relation to a Crime of Violence, in violation of Title 18

U.S.C. §§ 2 and 924(c)(1)(A)(ii), in exchange for the undertakings made by the government in the

written plea agreement. On the basis of the record made at the hearing, I find that the defendant is

fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment and

the lesser included offense in Count Two of the Indictment be accepted, that the Court adjudicate

defendant guilty of the charges set forth in Count One of the Indictment and the lesser included

offense in Count Two of the Indictment, and that the written plea agreement be accepted at the

time of sentencing. I further recommend that defendant remain in custody until sentencing in this

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Case 1:14-cr-00029-TRM-CHS           Document 40        Filed 06/16/14      Page 1 of 2     PageID
                                           #: 93
matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Thursday, September 25, 2014, at 9:00

am.



                                               SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                  2



Case 1:14-cr-00029-TRM-CHS            Document 40        Filed 06/16/14      Page 2 of 2      PageID
                                            #: 94
